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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF ILLINOIS

BOB ABRAMS, JANICE SMART,                 )
BOB ABRAMS as personal representative for )
the Estate of VIRGINIA E. ABRAMS, deceased,
                                          )
ANGIE SUNDHAUSEN as personal              )
representative for the Estate of          )
MATTHEW MURPHY, deceased, and             )               Docket No.: 3:19-cv-01391
ANGIE SUNDHAUSEN as personal              )
representative for the Estate of          )
MARLEEN E. MURPHY, deceased,              )
                                          )
      Plaintiffs,                         )
v.                                        )               PLAINTIFFS DEMAND
                                          )               A TRIAL BY JURY
FEDEX GROUND PACKAGE SYSTEM, INC., )
FEDEX CORPORATION, FEDEX FREIGHT,         )
ASLLAN NMI PINO, and HARD DRIVE           )
EXPRESS, INC.,                            )
                                          )
      Defendants.                         )
_________________________________________ )

                              FIRST AMENDED COMPLAINT

       Plaintiffs BOB ABRAMS, JANICE SMART, BOB ABRAMS as personal representative

for the Estate of VIRGINIA E. ABRAMS, deceased, ANGIE SUNDHAUSEN as personal

representative for the Estate of MATTHEW MURPHY, deceased, and ANGIE SUNDHAUSEN

as personal representative for the Estate of MARLEEN E. MURPHY, deceased by their attorneys,

MORELLI LAW FIRM, PLLC and CATES MAHONEY, LLC, respectfully allege upon

information and belief as follows:

                                     NATURE OF THE CASE

       1.      This is a civil action for personal injuries suffered by Plaintiffs BOB ABRAMS,

JANICE SMART, BOB ABRAMS as personal representative for the Estate of VIRGINIA E.

ABRAMS, deceased, ANGIE SUNDHAUSEN as personal representative for the Estate of


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MATTHEW MURPHY, deceased, and ANGIE SUNDHAUSEN as personal representative for

the Estate of MARLEEN E. MURPHY, deceased, (collectively “Plaintiffs”) being brought against

Defendants FEDEX GROUND PACKAGE SYSTEM, INC., FEDEX CORPORATION, FEDEX

FREIGHT (collectively “FedEx”), ASLLAN NMI PINO, and HARD DRIVE EXPRESS, INC.

(referred to hereinafter collectively as “Defendants”).

       2.      This action arises out of a tragic and fatal motor vehicle accident which occurred

on July 20, 2019 on Interstate 70 eastbound in Effingham County, State of Illinois, when a FedEx

tractor-trailer being operated by defendant ASLLAN NMI PINO collided with the rear end of the

vehicle in which Plaintiffs and Plaintiffs’ decedents were traveling. As a result of the Defendants’

negligence, Plaintiffs and Plaintiffs’ decedents’ were caused to suffer severe and permanent

injuries, including death.

                                             PARTIES

       3.      Plaintiff Bob Abrams is an individual and citizen of the state of Missouri and brings

this case as an individual and in his capacity as personal representative for the Estate of Virginia

E. Abrams, Deceased.

       4.      Plaintiff Janice Smart is an individual and citizen of the state of Missouri.

       5.      Angie Sundhausen as personal representative for the Estate of Matthew Murphy,

deceased, and as personal representative for the Estate of Marleen E. Murphy, deceased is an

individual and citizen of the state of Missouri.

       6.      Defendant FEDEX GROUND PACKAGE SYSTEM, INC. (hereinafter “FedEx

Ground”) is a wholly-owned subsidiary of FedEx Corporation. Defendant FedEx Ground is

headquartered and has its principal place of business in Pittsburgh, Pennsylvania. FedEx Ground




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has an average daily volume of over 8.5 million package deliveries using over 70,000 motorized

vehicles, including tractor-trailers.

        7.      Defendant FEDEX CORPORATION is a worldwide corporation whose

headquarters and principal place of business is located in Memphis, Tennessee.                FedEx

Corporation has stores and distribution centers in over 220 countries and territories throughout the

world. FedEx Corporation has an average daily volume of over 15 million shipments each business

day. FedEx Corporation provides a large portion of those shipments via the 180,000 motorized

vehicles, including tractor-trailers, that it owns and operates.

        8.      Defendant FEDEX FREIGHT is a wholly-owned subsidiary of FedEx Corporation.

Defendant FedEx Freight is headquartered and has its principal place of business in Memphis,

Tennessee. FedEx Freight has an average daily volume of over 110,000 shipments using over

25,000 motorized vehicles, including tractor-trailers, throughout the United States, Canada,

Mexico, Puerto Rico, and the U.S. Virgin Islands.

        9.      Defendant ASLLAN NMI PINO is an individual and upon information and belief

a citizen of the State of Michigan.

        10.     Defendant HARD DRIVE EXPRESS, INC. (“Hard Drive”) is a corporation with

its principal place of business in the State of Michigan. Hard Drive was the registered owner of

the subject tractor-trailer on the date of the accident.

                                        VENUE AND JURISDICTION

        11.     This Court has original jurisdiction over this action under 28 U.S.C. § 1332, in that

the amount of controversy exceeds seventy-five thousand dollars ($75,000) and Plaintiffs are

citizens of states which are different from the states where Defendants reside, are incorporated and

have their principal places of business.



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       12.     Venue is proper in this district, because the accident occurred in Jackson Township,

County of Effingham, State of Illinois, which falls within this Court’s jurisdiction.

                                  FACTUAL ALLEGATIONS

                                          The Plaintiffs

       13.     The Plaintiffs BOB ABRAMS, JANICE SMART, and the Plaintiffs’ decedents

VIRGINIA E. ABRAMS, MATTHEW MURPHY, and MARLEEN E. MURPHY were family

members who had a very close relationship to one another. Specifically, BOB ABRAMS and

VIRGINIA E. ABRAMS were married at the time of the accident. MATTHEW MURPHY and

MARLEEN E. MURPHY were also married at the time of the accident. JANICE SMART,

MATTHEW MURPHY and VIRGINIA ABRAMS were siblings.

       14.     The Plaintiffs and Plaintiffs’ decedents were all part of a close-knit family. They

all resided close to each other in St. Louis, Missouri and frequently took vacations together. On

the date of the accident, the family members were planning to drive from St. Louis, Missouri to

Niagara Falls for a vacation.

                                     The FedEx Defendants

       15.     Each business day, FedEx delivers more than 10 million packages to more than 220

countries and territories using more than 100,000 fleet vehicles, including its tractor-trailers, and

employs more than 400,000 team members at hundreds of locations around the world.

       16.     For the fiscal year ending on March 2019, Defendant FedEx Corporation had

annual revenue of approximately $69.7 Billion.

       17.     For the fiscal year ending March 2019, Defendant FedEx Ground had annual

revenue of approximately $20.5 Billion.




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        18.        For the fiscal year ending March 2019, Defendant FedEx Freight had annual

revenue of approximately $7.6 Billion.

        19.        According to FedEx’s own website, “safety above all” is allegedly a core FedEx

belief and it is integrated into everything FedEx does. Allegedly, ensuring safety is “absolutely

essential” and a job that FedEx takes “extremely seriously.”           Allegedly, FedEx has “high

standards” when it comes to safety.

        20.        According to FedEx’s website, FedEx sets exacting safety standards and protocols,

many of which exceed Department of Transportation (“DOT”) requirements.

        21.        According to FedEx’s website, FedEx annually invests millions of dollars in

equipment and technology to prevent injuries and accidents on the ground.

        22.        According to FedEx’s website, FedEx understands that they “can’t rest when it

comes to safe operating procedures.”

                                                 The Accident

        23.        On the morning of July 20, 2019, the Plaintiffs and Plaintiffs’ decedents were

planning to drive from St. Louis, Missouri to Niagara Falls for a vacation.

        24.        It was a clear day, and temperatures were above ninety degrees.

        25.        On July 20, 2019, Asllan Nmi Pino was operating a FedEx tractor-trailer in the

course of his employment.

        26.        On July 20, 2019, Defendant Hard Drive was the registered owner of the subject

tractor-trailer.

        27.        On July 20, 2019, Mr. Pino’s employment consisted of driving a 2019 Peterbilt

truck-tractor and Hyundai semitrailer combination vehicle (the “FedEx Truck”).




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           28.   At approximately 11:00 a.m. on July 20, 2019, both Plaintiffs’ vehicle and the

FedEx Truck were traveling on Interstate 70 eastbound at mile post 89 and approaching a

construction zone.

           29.   The eastbound and westbound lanes of traffic were separated by a concrete median

barrier.

           30.   A 2020 Freightliner truck driven by Jamie Hugh Smith (“Freightliner”) had come

to a complete stop in traffic directly in front of Plaintiffs’ vehicle.

           31.   Plaintiffs’ vehicle approached the stopped traffic and began to slow down behind

the Freightliner, ultimately coming to a complete stop in traffic.

           32.   The FedEx Truck was traveling on I-70 eastbound approaching the rear of

Plaintiffs’ vehicle.

           33.   The FedEx Truck was traveling at an accelerated rate of speed.

           34.   The driver of the FedEx Truck, Asllan Nmi Pino, was not paying attention nor

keeping a proper lookout as he approached the rear of Plaintiffs’ vehicle.

           35.   Defendant Asllan Nmi Pino at some point before impacting Plaintiffs’ vehicle

realized traffic was coming to a stop or was stopped in front of him.

           36.   Upon information and belief, defendant Pino then applied the brakes of the FedEx

Truck and swerved to the left.

           37.   The FedEx Truck was unable to avoid Plaintiffs’ vehicle, struck the rear of

Plaintiffs’ vehicle, and pushed the Plaintiffs’ vehicle into the rear of the Freightliner.

           38.   The FedEx Truck then proceeded to strike the concrete median barrier.

           39.   The FedEx Truck pushed the concrete median barrier into the westbound lanes.




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        40.     Plaintiffs’ vehicle became lodged between the FedEx Truck and the utility trailer

being pulled by the Freightliner.

        41.     Plaintiffs’ vehicle eventually came to rest facing in a southwest direction.

        42.     The Plaintiffs’ vehicle was decimated as a result of the accident.

        43.     The Plaintiffs and Plaintiffs’ decedents were unable to escape the vehicle.

        44.     As they remained severely injured inside the vehicle, it took first responders

approximately four hours to extract Plaintiffs and Plaintiffs’ decedents from the vehicle.

        45.     The extraction took particularly long both because of how severely damaged

Plaintiffs’ vehicle was, and because of the extremely hot temperatures outside.

        46.     Plaintiff Bob Abrams was extracted from the vehicle and flown by helicopter to a

hospital in Springfield, Illinois.

        47.     Plaintiff Janice Smart was extracted from the vehicle and taken by the air

evacuation life team to a hospital in Springfield, Illinois.

        48.     Virginia E. Abrams, Matthew Murphy, and Marleen E. Murphy were all extracted

from the vehicle and subsequently pronounced deceased.

        49.     Defendant Asllan Nmi Pino was issued two citations as a result of the accident.

                                                  First Count
                                     Negligence - (Against all Defendants)

        50.     Plaintiffs incorporate by reference all preceding paragraphs of this First Amended

Complaint as if fully set forth herein.

        51.     On July 20, 2019, relatives BOB ABRAMS, VIRGINIA E. ABRAMS, JANICE

SMART, MATTHEW MURPHY, and MARLEEN E. MURPHY were all traveling in a 2019

GMC Yukon motor vehicle.




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        52.    On July 20, 2019, the 2019 GMC Yukon was being operated by decedent

MATTHEW MURPHY.

        53.    On July 20, 2019, defendant Asllan Nmi Pino was driving a 2019 Peterbilt truck-

tractor and Hyundai semitrailer combination vehicle (the “FedEx Truck”), which was owned by

defendant Hard Drive.

        54.    Mr. Pino was operating the FedEx Truck in the regular course of his employment

for FedEx and/or Hard Drive.

        55.    Based upon the doctrine of respondeat superior, Defendants FedEx and Hard Drive

are liable for the aforesaid negligent acts and/or omissions of its agent, servant and employee,

Asllan Nmi Pino.

        56.    Defendants FedEx and Hard Drive had the right to control the manner of defendant

Asllan Nmi Pino’s work performance.

        57.    At the time of the accident, the nature of the work being performed by Asllan Nmi

Pino was closely aligned with the general business of Defendants FedEx and Hard Drive.

        58.    Defendants FedEx and Hard Drive had the right to discharge Asllan Nmi Pino.

        59.    Defendants FedEx and Hard Drive controlled the method of payment to Asllan Nmi

Pino.

        60.    Defendants FedEx and Hard Drive provided Asllan Nmi Pino with the necessary

tools, materials, and equipment in order to complete his assigned tasks.

        61.    Accordingly, Defendants FedEx and Hard Drive are vicariously liable for the

negligence of their agent, defendant Asllan Nmi Pino.

        62.    On July 20, 2019, while BOB ABRAMS, VIRGINIA E. ABRAMS, JANICE

SMART, and MARLEEN E. MURPHY were lawful passengers in the vehicle being operated by



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MATTHEW MURPHY, the Plaintiffs and defendant Asllan Nmi Pino were involved in a motor

vehicle collision on Interstate 70 eastbound at mile post 89, in Effingham County, State of Illinois,

when the FedEx Truck being operated by Defendant Pino collided with the rear of Plaintiffs’

stopped vehicle.

       63.     FedEx, Asllan Nmi Pino, and Hard Drive were all careless and negligent in the

ownership and operation of its motor vehicle, which caused Plaintiffs and Plaintiffs’ decedents to

suffer severe and permanent physical, emotional, psychological, and economic injuries.

       64.     The automobile collision at issue was caused by the negligence and carelessness of

the Defendants in the following respects:

             a. Defendant Pino operated the vehicle in a careless and reckless manner;

             b. Defendant Pino failed to cease operating the vehicle under hazardous road

                   conditions;

             c. Defendant Pino failed to properly operate the vehicle under the hazardous road

                   conditions;

             d. Defendant Pino failed to keep a careful lookout;

             e. Defendant Pino failed to attend to the roadway;

             f. Defendant Pino failed to reduce the rate of speed to avoid an accident;

             g. Defendant Pino failed to heed warnings, including audible warnings, in the truck

                   immediately prior to the collision;

             h. Defendant Pino operated the vehicle at an excessive rate of speed under the

                   circumstances;

             i. Defendants failed to comply with applicable state and federal regulations

                   regarding the commercial operation of tractor-trailer units; and



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             j. Such further negligent and careless acts and omissions as the evidence and

                  discovery will reveal.

       65.     At all times mentioned herein, Defendants owed a duty to Plaintiffs and others to

exercise the highest degree of care in the operation of the motor vehicle.

       66.     The acts and omissions as set forth herein constituted violations of the Illinois

Compiled Statutes regarding the regulation of traffic as set forth with more specificity in Chapter

625 of the Illinois Compiled Statutes which include, but are not limited to 625 ILCS. §§ 11-601

and §§11-605.1.

       67.     The acts and omissions as set forth herein constituted violations of the Federal

Motor Carrier Safety Regulations as set forth in Title 49 of the Code of Federal Regulations which

include, but are not limited to 49 CFR §392.6.

       68.     The subject statutes, codes, regulations, and the above provisions are designed to

protect Plaintiffs and members of the public generally from the hazards that arise from the

operation of motor vehicles.

       69.     Plaintiffs are within the class of persons protected by the provisions enumerated

above and all were designed to prevent the injuries Plaintiffs sustained.

       70.     As a direct and proximate result of Defendants’ negligence, Plaintiffs and

Plaintiffs’ decedents were caused to sustain severe and permanent painful bodily injuries,

including, but not limited to death, emotional, psychological, and economic injuries.

       71.     As a further direct and proximate result of one or more of the foregoing negligent

acts or omissions by the Defendants’ agent, servant and employee, Asllan Nmi Pino, while acting

within the scope of his employment for FedEx and/or Hard Drive, the Plaintiffs sustained severe

and traumatic injuries, including death.



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          72.     As a direct and proximate result of the injuries sustained by Plaintiffs’ and

Plaintiffs’ decedents in the collision, they have been incapacitated from pursuing usual

employment and other activities, may be left with disabilities that will in the future similarly

incapacitate them and cause them pain and suffering, and may require medical treatment.

          73.     The negligence and carelessness of the Defendants as described above showed

gross negligence, a complete indifference to or a conscious and wanton disregard for the safety of

the Plaintiffs’ and others, thereby justifying an award of punitive damages in such sum as will

serve to punish Defendants and deter Defendants, and others, from like conduct in the future.

          74.     Plaintiffs respectfully request that this Court enter judgment on behalf of the

Plaintiffs and against the Defendants, in an amount in excess of seventy-five thousand

($75,000.00), for the injuries and damages sustained by the Plaintiffs, and for costs of suit incurred

herein, for pre- and post-judgment interest as provided by law, for punitive damages, and for such

other or further relief as the Court deems just.


                                        Second Count
                                       Wrongful Death
                (VIRGINA E. ABRAMS, MATTHEW MURPHY, MARLEEN E. MURPHY)

          75.     Plaintiffs incorporate by reference all preceding paragraphs of this First Amended

Complaint as if fully set forth herein.

          76.     Plaintiffs bring this cause of action pursuant to the Illinois Wrongful Death Act,

740 ILCS 180/1 et seq. and seek all damages allowed pursuant to that Act.

          77.     As a further direct and proximate result of one or more of the foregoing negligent

acts or omissions by the Defendants, Plaintiffs’ decedents, VIRGINIA E. ABRAMS, MATTHEW

MURPHY, and MARLEEN E. MURPHY, sustained great bodily injury, which resulted in their

deaths.


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       78.     At the time of her death, VIRGINIA E. ABRAMS was survived by her husband,

Plaintiff BOB ABRAMS, who has been damaged as a result of the death of VIRGINIA E.

ABRAMS.

       79.     As a direct and proximate result of the death of VIRGINIA E. ABRAMS, in

addition to those pecuniary damages to which VIRGINIA E. ABRAMS is entitled that survived

her death, Plaintiff, BOB ABRAMS and the next of kin of VIRGINIA E. ABRAMS, have suffered

damages, including the loss of love and affection, guidance and caretaking provided by VIRGINIA

E. ABRAMS, and have further incurred tremendous grief, sorrow, and other mental suffering, all

as a result of the death of VIRGINIA E. ABRAMS.

       80.     At the time of their deaths, MATTHEW MURPHY and MARLEEN E. MUPRHY

were survived by their next of kin, who have been damaged as a result of their deaths.

       81.     As a direct and proximate result of the death of MATTHEW MURPHY and

MARLEEN E. MUPRHY, in addition to those pecuniary damages to which MATTHEW

MURPHY and MARLEEN E. MUPRHY are entitled to that survived their deaths, the next of kin

of MATTHEW MURPHY and MARLEEN E. MUPRHY, have suffered damages, including the

loss of love and affection, guidance and caretaking provided by MATTHEW MURPHY and

MARLEEN E. MUPRHY, and have further incurred tremendous grief, sorrow, and other mental

suffering, all as a result of the death of MATTHEW MURPHY and MARLEEN E. MUPRHY.

       82.     Plaintiffs respectfully request that this Court enter judgment on behalf of the

respective Estates and against the Defendants for the injuries and damages resulting from the

deaths of VIRGINIA E. ABRAMS, MATTHEW MURPHY, and MARLEEN E. MURPHY, and

for costs of suit incurred herein, and for such other or further relief as the Court deems just.




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                                     Third Count
                                    Survival Action
             (VIRGINA E. ABRAMS, MATTHEW MURPHY, MARLEEN E. MURPHY)

       83.     Plaintiffs incorporate by reference all preceding paragraphs of this First Amended

Complaint as if fully set forth herein.

       84.     Plaintiffs bring this cause of action pursuant to the Illinois Probate Act, 755 ILCS

5/27-6 and seek all damages allowed that survive as a result of the personal injuries suffered by

VIRGINIA E. ABRAMS, MATTHEW MURPHY, and MARLEEN E. MURPHY up until the

time of their deaths.

       85.     As a further direct and proximate result of one or more of the foregoing negligent

acts or omissions by the Defendants, VIRGINIA E. ABRAMS, MATTHEW MURPHY, and

MARLEEN E. MURPHY, sustained great bodily injury up until the time of their deaths.

       86.     As a further direct and proximate result of the collision described above,

VIRGINIA E. ABRAMS, MATTHEW MURPHY, and MARLEEN E. MURPHY suffered

traumatic injuries, all of which caused them tremendous pain, suffering, and disfigurement up until

the time of their deaths.

       87.     Plaintiffs respectfully request this Court enter judgment on behalf of VIRGINIA E.

ABRAMS, MATTHEW MURPHY, and MARLEEN E. MURPHY for the injuries and damages

they suffered up until the time of their deaths and against the Defendants, and for costs of suit

incurred herein, and for such other or further relief as the Court deems just.

                                             Fourth Count
                                 Loss of Consortium – (BOB ABRAMS)

       88.     Plaintiffs incorporate by reference all preceding paragraphs of this First Amended

Complaint as if fully set forth herein.




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        89.      As a consequence of the car accident further described above, VIRGINIA E.

ABRAMS sustained significant and permanent injuries, including death.

        90.      Before suffering the injuries resulting from the accident, VIRGINIA E. ABRAMS

was able to and did perform all the duties of a wife and did perform these duties, including but not

limited to maintaining the home, providing love, companionship, affection, society, sexual

relations, moral support, and solace to her husband, plaintiff BOB ABRAMS.

        91.      BOB ABRAMS has suffered and continues to suffer from loss of society and

consortium as a result of the death of his wife, VIRGINIA E. ABRAMS.

                                                Fifth Count
                                             Family Expense Act

        92.      Plaintiffs incorporate by reference all preceding paragraphs of this First Amended

Complaint as if fully set forth herein.

        93.      As a further direct and proximate result of one or more of the foregoing negligent

acts or omissions by the Defendants, the Plaintiffs and Plaintiffs’ decedents sustained severe and

traumatic injuries, including death.

        94.      As a further direct and proximate result of the injuries suffered by the Plaintiffs and

Plaintiffs’ decedents, the Plaintiffs and Plaintiffs’ decedents were hospitalized for said injuries

which caused them to incur medical expenses in the past and for which they may incur expenses

in the future.

        95.      As a direct and proximate result of the injuries and damages suffered by the

Plaintiffs and Plaintiffs’ decedents, the Plaintiffs herein seek reimbursement for said expenses

pursuant to the Family Expense Statute, 750 ILCS 65/15.

        96.      Plaintiffs respectfully request that this Court enter judgment against the

Defendants, in an amount in excess of seventy-five thousand dollars ($75,000.00), for all of the


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expenses incurred by the Plaintiffs and Plaintiffs’ decedents pursuant to the Family Expense

Statute, 750 ILCS 65/15, and for costs of suit incurred herein, and for such other or further relief

as the Court deems just.


                                       DEMAND FOR A JURY TRIAL

       Plaintiffs hereby demand a jury trial as to all issues so triable as a matter of right, pursuant

to F.R.C.P. 38(b)(1) and 38(c).

                                            PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs demand upon Defendants:

               a.      actual, compensatory and statutory damages;

               b.      punitive damages as allowed by law;

               c.      pre and post-judgment interest as allowed by law;

               d.      injunctive relief;

               e.      an award of attorneys’ fees as allowed by law;

               f.      an award of taxable costs; and

               g.      any and all such further relief as this Court deems just and proper.

Respectfully submitted,

CATES MAHONEY, LLC                                     MORELLI LAW FIRM, PPLC

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                                                           Attorneys for Plaintiffs




                                  PROOF OF SERVICE


       I hereby certify that on April 21, 2020, I electronically filed this “FIRST AMENDED
COMPLAINT” with the Clerk of the Court using the CM/ECF system, which will send notification
of such filing(s) to all parties of record.

                                          /s/David Cates




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